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WESTEFtN DlSTRlCT OF TENNESSEE
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CORL|NDA DlCKERSON

Doris Rand|e-Ho|t. FPD
Defense Attorney

200 Jefferson Avenue, #200
Illlemphis, TN 38103

 

JUDGN|ENT iN A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on Nlay 12, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense:

Date Count
Tiue st section NMM Offense N_i@b_er£§l
Q¢m_cMe_d
18 U.S.C. § 1623 False Declarations Betore the Grand 06/22/2004 1

Jury

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Fietorm Act of 1984 and the l\/landatory
Victims Fiestitution Act of 1996

Counts 2, 3 & 4 are dismissed on the motion ot the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change ot name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. 415-47~1505 Date of imposition of Sentence:
Defendant’s Date of Birth: 11/11/1982 August 16, 2005
Deft’s U.S. N|arsha| No.: 19791-076

Deiendant’s Nlai|ing Address:
1802 Pendleton P|ace, No. 1
l‘vlemphis, TN 38114

J‘.' DAN\EL BREEN
u TED sTATEs DlsTnicT JUDGE
This document entered on the docket sheet in compliance August_{_’?_’ 2005
with sole ss and/or azrnj mch on 57- 8" O`S”'

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PROBAT|ON

The defendant is hereby placed on probation for a term of 2 Years.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1 . The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month',

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, orany paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use cf any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed or administered;The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirementl

12, lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal lVlonetary Penalties sheet of this judgment.

ADD|T|ONAL CONDIT|ONS OF PROBATION

The defendant shall also comply with the following additionai conditions of probation:

1. Participate in the Home Detention program for a period of 4 lillonths. During this time,
defendant will remain at defendants place of residence except for employment and other
activities approved in advance by the Defendant’s Probation Officer. Defendant will be
subject to the standard conditions of Home Detention adopted for use in the Western District
of Tennessee, which may include the requirement to wear an electronic monitoring device
and to follow electronic monitoring procedures specified by the F’robation Officer.

2. Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

3. Seek and maintain fulltime employmentl

4. Cooperate with DNA collection as directed by the Probation Officer.

CRIN\|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00
The Special Assessment shall be due immediately.
F|NE
No fine imposed
REST|TUTlON

No Flestitution was ordered.

 

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thice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:04-CR-20284 Was distributed by faX, mail, cr direct printing on
August 18, 2005 to the parties listed.

 

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FEDERAL PUBLIC DEFENDER
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Honorable J. Breen
US DISTRICT COURT

